                Case 1:21-cr-00065-LJL Document 3 Filed 02/03/21 Page 1 of 6
,_ ·.




         UNITED STATES DISTRICT COURT
         SOUTHERN DISTRICT OF NEW YORK
         ------ --------------------------- X
                                                      INDICTMENT
         UNITED STATES OF AMERICA
                                                      21 Cr .
                 - v. -

         COLE JAMES BRIDGES,                     .
             a/k/a " Cole Gonzales ,"

                               Defendant.
                                                 21 CRIM O
         ----------------------------------      X


                                     COUNT ONE
         (Attempted Provision of Material Support to a Designated Foreign
                              Terrorist Organization)

                  The Grand Jury charges:

                   1.     From at least in or about August 2020 , up to and

        including in or about January 2021, in the Southern District of

        New York and elsewhere, COLE JAMES BRIDGES, a/k/a " Cole

        Gonzales," the defendant , knowingly attempted to provide

        "material support or resources," as that term is defined in

        Title 18, United States Code , Section 2339A(b) , to a foreign

        terrorist organization, to wit, the Islamic State of Iraq and

        al-Sham ("ISIS " ) , which at all relevant times has been

        designated by the Secretary of State as a foreign terrorist

        organization, pursuant to Section 219 of the Immigration and

        Nationality Act ("INA" ), and is currently designated as such as

        of the date of the filing of this Indictment, including, among

        other things , training, services, and personnel, knowing that

        ISIS is a designated foreign terrorist organization (as defined
               Case 1:21-cr-00065-LJL Document 3 Filed 02/03/21 Page 2 of 6
'·



     in Title 18 , United States Code , Section 2339B(g) (6)) , that ISIS

     engages and has engaged in terrorist activity (as defined in

     section 212 (a) (3) (B) of the INA) , and that ISIS engages and has

     engaged in terrorism (as defined in section 140 (d) (2) of the

     Foreign Relations Authorization Act , Fiscal Years 1988 and

     1989) .

               (Title 18 , United States Code , Sections 2339B and 2.)

                                     COUNT TWO
                (Attempted Murder of U.S. Military Service Members)

                  The Grand Jury further charges :

                  2.    From at least in or about August 2020 , up to and

     including in or about January 2021 , in the Southern District of

     New York and elsewhere , COLE JAMES BRIDGES , a/k/a "Cole

     Gonzales, " the defendant, knowingly attempted to kill an officer

     and employee of the United States -- which killing would be

     murder as defined in Title 18, United States Code , Section

     llll(a) -- including any member of the uniformed services , while

     such officer and employee was engaged in and on account of the

     performance of official duties , and any person assisting such an

     officer and employee in the performance of such duties and on

     account of that assistance, to wit , BRIDGES attempted to provide

     military tactical training and advice to ISIS to facilitate the




                                            2
               Case 1:21-cr-00065-LJL Document 3 Filed 02/03/21 Page 3 of 6




efforts of ISIS fighters to attack U. S . troops and kill American

soldiers in the Middle East .

              (Title 18 , United States Code , Sections 1114 and 2.)

                               FORFEITURE ALLEGATIONS

         3.      As a result of planning and perpetrating Federal

crimes of terrorism against the United States , as defined in

Title 18 , United States Code , Section 2332b(g) (5) , and as

alleged in Counts One and Two . of this Indictment, COLE JAMES

BRIDGES , a/k/a " Cole Gonzales ," the defendant , shall forfeit to

the United States, pursuant to Title 18 , United States Code;

Section 981 (a) (1) (G) and Title 28 , United States Code , Section

2461 :

                       a.   All right, title , and interest in all

assets , foreign and domestic;

                       b.   All right, title, and interest in all

assets , foreign and domestic , acquired and maintained with the

intent and for the purpose of supporting, planning , conducting ,

and concealing a Federal crime of terrorism against the United

States , citizens and residents of the United States , and their

property ; and

                       c.   All right , title, and interest in all

assets , foreign and domestic, derived from , involved in , and

used and intended to be used to commit a Federal crime of


                                           3
          Case 1:21-cr-00065-LJL Document 3 Filed 02/03/21 Page 4 of 6




terrorism against the United States , citizens and residents of

the United States , and their property ; including but not limited

to a sum of money representing the value of the property

described above as being subject to forfeiture .

                        Substitute Assets Provision

     4.     If any of the above-described forfeitable property , as

a result of any act or omission of COLE JAMES BRIDGES , a/k/a

"Cole Gonzales ," the defendant :

            a.    cannot    be     located       upon    the     exercise    of      due

                  diligence ;

            b.    has been transferred or sold to , or deposited with ,

                  a third person ;

            c.    has   been     placed       beyond   the    jurisdiction      of   the

                 Court ;

           d.    has been substantially diminished in value ; or

           e.    has    been     commingled       with       other   property     which

                 cannot be subdivided without difficulty ,

it is the intent of the United States , pursuant to Title 28 ,

United States Code , Section 2461 , to seek forfeiture of any




                                          4
.t           Case 1:21-cr-00065-LJL Document 3 Filed 02/03/21 Page 5 of 6




     other property of the defendant up to the value of the above

     forfeitable property .

          (T i tle 18 , United States Code , Sections 981(a) (1) (G) and
       2332b(g) (5) ; and Title 28 , United States Code , Section 2461 . )




                                              ~-~
                                             AuDREYSTuss
                                             United States Attorney




                                         5
Case 1:21-cr-00065-LJL Document 3 Filed 02/03/21 Page 6 of 6




            UNITED STATES DISTRICT COURT
           SOUTHERN DISTRICT OF NEW YORK




              UNITED STATES OF AMERICA

                         -   v.   -

                COLE JAMES BRIDGES,
               a/k/a "Cole Gonzales,"

                                      Defendant.




                      INDICTMENT

                         21 Cr .

           (Title 18 , United States Code ,
           Sections 1114 , 2339B , and 2.)


                                             AUDREY STRAUSS
                                  United States Attorney


                     A TRUE BILL /

        ~ ,4/2'oreperson.
